Case 2:12-md-02323-AB Document 8351-5 Filed 09/05/17 Page 1 of 3




        Exhibit D
       Case 2:12-md-02323-AB Document 8351-5 Filed 09/05/17 Page 2 of 3




     RESPONSE TO INTERROGATORIES DIRECTED TO ADAM TANNEN AND
                        DUTTON LAW GROUP


Answer to interrogatories 1-9: None.




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                                                                             Page 1 of 2
       Case 2:12-md-02323-AB Document 8351-5 Filed 09/05/17 Page 3 of 3




                              CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by
electronic mail (email) at designated email address cseeger@seegerweiss.com Chris Seeger; and
tbenedetto@seegerweiss.com TerriAnne Benedetto; and bkarp@paulweiss.com on July 28,
2017.
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